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                                                   November 5, 2020

BY ECF AND EMAIL

Honorable Paul A. Engelmayer
United States District Judge
Southern District of New York
40 Foley Square
New York, NY 10007

       Re:   United States v. Bryant Brown,
             20 Cr. 12 (PAE)

Dear Judge Engelmayer:

      I write with the consent of the government to request that the Court
adjourn the November 6, 2020 conference until after Thanksgiving because
we continue to await the resolution of United States v. McCoy, 17-3515, by
the Second Circuit. The government requests, with our consent, that the
Court exclude the time until the next conference under the Speedy Trial Act,
18 U.S.C. § 3161(h), in the interest of justice.

                                                   Respectfully submitted,

                                                    /s/ Clay H. Kaminsky
                                                   Clay H. Kaminsky
                                                   Assistant Federal Defender
                                                   Federal Defenders of New York
                                                   (212) 417-8749 / (646) 842-2622

cc:    AUSAs Jamie Bagliebter and Mary Bracewell




             GRANTED. The conference is adjourned to December 4, 2020
             at 12:00 p.m. For the reasons stated above, time is excluded, pursuant
             to 18 U.S.C. 3161(h)(7)(A), until December 4, 2020. The Clerk of
             Court is requested to terminate the motion at Dkt. No. 26.
                                                                         11/5/2020
                                    SO ORDERED.

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                                                      PAUL A. ENGELMAYER
                                                      United States District Judge
